Case 5:16-cv-10444-JEL-EAS ECF No. 2135, PageID.72407 Filed 03/10/22 Page 1 of 2




    In the United States Court of Appeals
            for the 6th Circuit
 FWC Case #16-cv-10444
 Motion for Leave to file an APPEAL and
 disabled Jones’ NOTICE of Appeal TO THE
 6th Circuit Court of APPEALS…
 of Judge Levy’s “amended final judgment/ and settlement
 agreement orders” issued on MARCH 3rd, 2022 (Ecf Doc#
 2128 [and] Ecf Doc # 2105 ); and Judge Levy’s AWARD
 of ATTORNEY FEES to Class-Council ….due to 1st
 Amendment Violations put against [ME] as a FWC
 Claimant/ Settlement - Class Member; …. REQUIRES …DE
 NOVO REVIEW, by the Appeals Court here.
 —---
 Melvin Jones Jr. [disabled - concerned Flint
 resident {e.g. proposed intervenor}
 1935 Hosler St - Flint, Michigan 48503
 Email: meljonesjr@gmail.com
 ph# 810 - 962 - 6225
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 PLEASE take NOTE of the Following:

  [I] certify that the filings presented have not been raised and
 disposed of in the Court of Appeals [NOR] the District
 Court/… and that they set forth a claim for relief as well as
 the basis for that claim. Specifically…. The Settlement
 Agreement and Attorney Fees [BOTH] involve DEPRIVATIONS OF
 MY 1st AMENDMENT RIGHTS and are STATE-ACTION (e.g.
 involve the STATE OF MICHIGAN)... and [ME] a disabled
 Black Guy. Here — First Amendment challenge[s]
 to the district court’s approval of a settlement
 agreement [are] reviewed on Appeal via de
 novo review . Pac. Coast Horseshoeing
 Sch., Inc. v. Kirchmeyer, 961 F.3d 1062,
 1067 n.3 (9th Cir. 2020)... (“state action”
 involved”).
 Respectfully Submitted.
 Date: March 10th, 2022

 Melvin Jones Jr. - disabled FWC Claimant via the
 Archer Claims Administrator
